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                                                            U.S. Department of Justice

                                                            United States Attorney
                                                            Southern District of New York


                                                            The Silvio J. Mollo Building
                                                            One Saint Andrew=s Plaza
                                                            New York, New York 10007


                                                            January 8, 2021

       BY ECF
       The Honorable William H. Pauley III
       United States District Judge
       Daniel Patrick Moynihan United States Courthouse
       500 Pearl Street
       New York, New York 10007

              Re:     United States v. Amilcar Romero et al., 19 Cr. 734 (WHP)

       Dear Judge Pauley:

              The Government writes on behalf of the parties to clarify, for the avoidance of any doubt,
       the requests set forth in its January 7, 2021 letter motion. (Doc. No. 101.)

               Counsel for both Mr. Romero and Mr. Llevano-Rivera consent to an adjournment of next
       week’s conference, to setting a trial date in October 2021 (counsel for Mr. Romero specifically
       requests that the trial date be in late October) and to the exclusion of time under the Speedy Trial
       Act, pursuant to Title 18, United States Code, Section 3161(h)(1)(A), until the October 2021 trial
       date. As noted in its prior letter motion, the Government submits that the ends of justice served by
       such an exclusion outweigh the best interests of the defendants and the public in a speedy trial,
       because such an exclusion will allow the defendants to continue pursuing potential pretrial
       resolutions and otherwise to prepare for trial. In addition, such an exclusion will also ensure the
       effective assistance of counsel and prevent any miscarriage of justice. Defense counsel consent to
       this motion.

                                                            Respectfully submitted,

                                                            AUDREY STRAUSS
                                                            Acting United States Attorney
Application granted. Conference scheduled
for January 15, 2021 is canceled. A separate         By:
scheduling order will be entered on the docket              Michael D. Longyear
setting out the motion schedule.                            Justin V. Rodriguez
                                                            Jacob E. Warren
                                                            Assistant United States Attorneys
                                                            (212) 637-2223 / 2591 / 2264

       Cc: Counsel of record (by ECF)




         January 12, 2021
